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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

PERRY HOPMAN                                 §
Plaintiff,                                   §
                                             §
v.                                           §       Civil Action Number: 4:18-cv-74-KGB
                                             §
UNION PACIFIC RAILROAD                       §
     Defendant.                              §

                             Plaintiff Perry Hopman’s Response
                        to Defendant’s Motion for Summary Judgment

       Union Pacific (“UP”) asks this Court to ignore federal law and its own policies to deny a

reasonable accommodation to a veteran who suffers from war-induced Post-Traumatic Stress

Disorder (“PTSD”). UP claims that, if Perry Hopman can power through his PTSD symptoms

and perform the discrete tasks of his job, it need not accommodate him.

       UP is dead wrong. Even UP’s own reasonable accommodation policy recognizes that

federal law does not limit accommodation to those who need help with the discrete tasks of a

job. Federal law also requires job accommodations when they mitigate the symptoms of a

disability and thus allow the worker equal access to the benefits and privileges of employment.

Atlas, the service dog in this case, monitors Hopman and intervenes to prevent painful

flashbacks from his war service. UP claims a pass under the ADA since Hopman has not failed

to perform his duties. (Dkt. 54-1 at 2). This is contrary to established law. Because UP’s motion

is unsupported by the applicable law and the factual record, it should be denied.




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                                      Factual Background

       This case is brought to compel UP’s compliance with its duty of accommodating a

decorated veteran with war-induced PTSD. Perry Hopman wishes he had not witnessed what he

saw on his tours of duty in Iraq and Kosovo. He wishes that the soldiers he cared for had not

been mortally wounded. He wishes he had not come home with PTSD and that he did not need

an accommodation. That is not his reality.

       Hopman has this war-induced disability because he served as an Army flight medic in

Iraq and Kosovo. (Ex. A, Hopman deposition at 8-9; Ex. B, Hopman Dec at ¶3). A flight medic

operates as a one-man flying hospital working to save soldiers injured on the battlefield. (Ex. B,

at ¶3). In that role, he witnessed carnage and pain and suffering no human should endure, and he

did so heroically. Id. After his service to the United States, he worked hard to overcome his

injuries during a month of in-patient treatment at Walter Reed Hospital in Washington, D.C. and

several months of in-patient treatment at the Oasis Center, the preeminent PTSD program in this

country. (Ex. A at 17-18; Ex. B at ¶ 4). He also received in-patient treatment at the Intrepid

Center for both a traumatic brain injury and PTSD. Hopman’s war-induced injuries were so

severe that he received a 100% disability rating from the Veterans Administration. (Ex. A at 101;

Ex. B at ¶ 3).

                         UP Stands in the Way of an Effective Tool
                    that Mitigates Hopman’s Anxiety, Pain, and Suffering

       Hopman did not give in to his disability. Quite the contrary. He worked hard to

overcome it. So when his treatment reached a point where his medical team recommended a

service dog to help mitigate the flashbacks, anxiety, and migraine headaches he suffered, he

pursued that treatment option. (Ex. B at ¶ 5). UP stands in his way.


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       Service dogs are expensive and it took Hopman time to get the money together to

purchase and train the dog. (Ex. B at ¶ 5). The dog, Atlas, went through extensive training and

suitability evaluation before being certified. (Ex. A at 106-107; Ex. C, UPHopman 856).

Hopman did training too. Id. And, on April 10, 2017, the team of Hopman and Atlas were

certified. Id. His trained service dog would, if not barred by UP, allow him to work his 12 hour

shifts without the pain and suffering associated with flashbacks, migraine headaches, and

without reliving the carnage he endured. (Ex. B at ¶ 7). He wanted to work without those

burdens, as those without disabilities do. As he explained at the time, he didn’t need the service

dog to help him with discrete job functions, but to assist when he “is experiencing increased

anxiety, fatigue and difficulties concentrating.” (Ex. C, UPHopman 195).

       His goal then and now is a workplace free of the serious barriers he faced because of his

war-induced disability. Veterans such as Hopman understand that triggers (i.e., certain sounds

and lights) induce flashbacks to the events of the past. (Ex. B at ¶ 7). Atlas is trained to monitor

those triggers so that he can intervene and divert Hopman’s attention from flashbacks and the

pain accompanying them. Id.

       That is not all. Atlas dog also assists in preventing the worst effects of migraine

headaches, (Ex. A at 108-110), by recognizing the aura that precedes Hopman’s migraines. (Ex.

B at ¶ 7). Atlas then alerts Hopman, who self-administers a 10 mg. tablet of Rizatriptan, a

prescription that mitigates the worst symptoms, (Ex. B at ¶ 7), by narrowing blood vessels in the

brain, stopping pain signals from being sent to the brain, and blocking the release of substances

that cause pain, nausea, and other symptoms of migraine.1

       1
         Summary of diagnosis and treatment of migraines by the Mayo Clinic, found online at
https://www.mayoclinic.org/diseases-conditions/migraine-headache/diagnosis-treatment/drc-203
60207
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            UP Ignored its Own Accommodation Policy, as well as Federal Law,
        to Deny Hopman Equal Access to the Benefits and Privileges of Employment

        One glaring disconnect in UP’s motion for summary judgment is its refusal to

acknowledge that both its official policies and federal law recognize a duty to accommodate that

is distinct from the duty to accommodate to help perform the essential functions. UP’s own

policies state that it must accommodate to either assist with the essential functions, or “[w]hen

an employee with a disability needs a reasonable accommodation to enjoy equal access to the

benefits and privileges of employment.” (Ex. C, UPHopman 226-227). UP pretends this bedrock

of federal law does not exist even when its own policy gives examples of accommodations that

have nothing to do with performing the discrete tasks of a job.

        This lawsuit arose because UP reflexively rejected Hopman’s request for accommodation

twice without the process its own policies mandate. (Ex. B at ¶ 8). Each time, the decision-

makers refused to speak with him, refused to permit him to explain how the accommodation

would work, and refused to share their concerns with him, much less allow him to address them.

(Ex. B at ¶ 8).

        UP proceeded in direct violation of its own policy’s requirement to “engage in the

interactive process to clarify the needs of the individual making the request, and ask questions to

try to identify the appropriate reasonable accommodation.” (Ex. C, UPHopman 226). Instead of

any attempt to make things work, UP kept Hopman in the dark through the entire process until it

issued a rejection of his request. (Ex. B at ¶ 8).




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       Here is how the process unfolded.

       1. The April 2016 Request and Denial.

       In 2016, Hopman made a request for a service dog before Atlas was fully trained because

he wanted his proverbial ducks in a row when the training ended. (Ex. B at ¶ 9). UP blithely

claims Hopman said only that he needed the dog to be “more comfortable,” (Dkt 54-1 at 1), but

that is not what UP’s documentation shows:

               He noted that having his service animal would help him both mentally and
               physically. He did not specify the specific functions of his service animal
               but noted that his service dog helps him in various ways. HOPMAN
               would like to be able to bring his service animal to work.

(Ex. C, UPHopman 264).

       UP received Hopman’s request for accommodation on April 1, 2016, and denied it only

three days later. (Ex. B at ¶ 9; Ex. C, UPHopman 197-198). UP decision-makers acted without

ever speaking to Hopman, without asking him any questions, and without allowing him to learn

about their concerns. (Ex. B at ¶ 9). To this date, Hopman has never met or communicated with

any of UP’s decision-makers with respect to his request for an accommodation. Id.

       UP’s records reveal three reasons for its rejection, although UP never evaluated Hopman

or the dog:

       1. “[T]he railroad environment is constantly shifting and changing - it is unclear how a

service dog would adapt to moving box cars, locomotives and oftentimes loud and dangerous

conditions posed by building, dismantling and servicing railcars and trains.” (emphasis

supplied). (Ex. C, UPHopman 197). This would have been a proper basis for a question to

Hopman, but UP refused to ask questions. It just said no. If it had engaged in an interactive

process, it would have learned that Atlas is highly trained and would have no issues adapting to


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the railroad environment. (Ex. B at ¶ 10) It would also have learned that Atlas was specifically

trained to respond to loud noises – because they are potential triggers – by focusing on Perry.

(Ex. B at ¶ 7).

        2. “[T]here is no infrastructure in place to care for an animal, or to ensure that its bodily

functions (urine/excrement) can be consistently cleaned in manner to prevent health concerns.”

(Ex. C, UPHopman 197). Again, UP did not ask whether Hopman would need infrastructure for

Atlas or what the dog’s bodily function needs were. If it had, it would have learned that Atlas

needed no infrastructure and that service dogs are trained not to relieve themselves for 14 hours,

which is longer than Hopman’s 12-hour shift. (Ex. B at ¶ 11).

        3. “[T]he dog will remain unmonitored in this environment when the Claimant is

performing his essential duties, and may pose a risk to co-workers.” (Ex. C, UPHopman 197).

(emphasis supplied). Again, UP chose total speculation rather than inquiring about the dog’s

training. Atlas is trained as a tool and would not have been accepted as a service dog if he had

any aggressive tendencies. If UP was engaging in good faith, it would have asked Hopman about

the dog’s training rather than assume the worst. (Ex. B at ¶ 11).

        A clear sign of the slap-dash nature of UP’s response is this statement: “This is not an all

inclusive list but provides few pertinent examples of why this accommodation should be

denied.” (Ex. C, UPHopman 197). Hidden reasons signal the antithesis of a good faith process.

They are a sign of a “heads I win, tails you lose” mind set. A good faith process would have

allowed Hopman to engage the concerns of the employer, with both parties being honest and

forthright with the other and with the goal of assisting the worker. But in this case, the matter

was closed almost immediately and UP kept Hopman in the dark about any concerns it may have

had until after it had denied his request. (Ex. B at ¶ 8).

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       2. The May 2017 Request and Denial. In May 2017, after he and Atlas had completed

their training and been certified, Hopman again asked UP for the accommodation. (Ex. A at 37-

38, 121; Ex. B ¶¶ 13-14; Ex. C, UPHopman 204). He contacted UP employee Pauline

Weatherford and asked again “for accommodation which would enable me to bring [Atlas] to

work with me.” (Ex. C, UPHopman 196). In making his renewed request, he sincerely addressed

the reasons that UP had given in 2016. He shared the training, disabused UP of the concern that

Atlas would have to interrupt the shift for bathroom breaks, and explained that Atlas was not

aggressive and could not be certified with such a trait. (Ex. C, UPHopman 193-195). Hopman,

acting in good faith, volunteered that Atlas’ trainer would be happy to meet with UP

representatives to discuss the dog’s training and his skills. (Ex. B at ¶ 10; Ex. C, UPHopman at

201-202). Hopman further volunteered to provide a short orientation to employees to be sure

they understood Atlas was a working dog, not a pet. (Ex. C, UPHopman 193-195, at 193). UP

ignored this input and simply said no, as it had done before. Id. Little did Hopman know, but

UP’s Director of Safety had already “determined that it was not feasible to accommodate

animals in the work environment of an Engineer.” (Ex. C, UPHopman 555-563, at 560).

       UP could have simply told him the truth, that UP felt that service dogs were incompatible

with train work. If UP had, Hopman could have addressed that. It did not. Nor did its decision

makers meet with him or communicate with him in any way. (Ex. B at ¶ 15). This failure to

engage was especially lacking since the purported decision-maker, Jay Everett, was stationed in

Little Rock just like Hopman. (Ex. B, at ¶ 17; Ex. F, Everett Depo at 13, 20-21, 33).




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       In 2017, UP refused to offer any specific justification for its denial. (Ex. B, at ¶ 15).

Instead of offering concerns or giving any reasons, UP simply declared that granting the

accommodation might be a “direct threat.”2 (Ex. C, UPHopman 199). If Hopman had known

who was calling the shots, he could have gone to Everett’s office to ask why UP refused to talk

with him, rather than just labeling him a direct threat. But UP hid that as well. (Ex. B at ¶ 17).

       UP now claims that the accommodation Hopman sought would violate certain safety

rules. (Dkt. 54-1 at 10; Ex. B at ¶ 18). If there had been rules that might have been implicated,

UP’s policy required it to communicate that in the interactive process. (Ex. C, UPHopman 226-

227). UP admits that it has no rules barring dogs from its trains and yard. (Ex. E, Doerr Depo at

78, 128-130, 134-135, 138-139). Yet, it expressed, once this litigation started, that people might

be allergic to Atlas, that Hopman would be distracted by Atlas, that Atlas would be distracted by

noise, and that Atlas’s paws might get hurt walking on railroad ballast. (Ex. E at 90, 98, 110,

179-180). These concerns would have been easily resolved had UP communicated its

assumptions and interacted with Hopman, and considered its experience with its own dogs who

are trained to work with its Special Agents.

       For more than 25 years, UP has utilized its own dogs to protect its own property, and

none of these dogs have ever caused the same sort of issues that UP assumed that a trained

service dog. (Ex. E at 245-247). Instead, it assumed problems for a service dog that did not exist

with its own trained dogs. Atlas is a trained working dog, not a pet or a center of attention. (Ex.

B at ¶ 18). As Hopman testified, “Atlas watches me. I don’t watch Atlas.” (Ex. A at 135). Had

UP conducted an individualized assessment as required by law, it would have known this. Its
       2
         Although UP continually states that Hopman was a “direct threat,” it did not plead this
affirmative defense in this case and the time for adding claims and defenses expired long ago.
This affirmative defense is not in the case. FRCP 12.

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failure to do so is mystifying since UP owns dogs who work in and around train yards and

locomotives. (Ex. E at 156, 181-183, 247-249).

       3. UP’s Response to the 2017 Accommodation Request is More Like a Punishment than

a Solution. In order to sanitize its second rejection of the accommodation request, UP claims

that it was a noble employer and did the right thing by granting alternate equally effective

accommodations: FMLA leave or working in the yard as opposed to conducting trains between

Little Rock and Monroe. (Ex. C, UPHopman 199). There are serious problems with these

“accommodations.” FMLA leave would send him home without pay instead of accommodating

his disability so he could work. Id. And, as Hopman noted, he cannot predict his bad days

anyway. (Ex. B at ¶ 19).

       As for the transfer to the rail yard, that was not an accommodation at all, since Hopman

had the right under his collective bargaining agreement to work in the yard, due to his seniority.

(Ex. B at ¶ 19; Ex. E at 117). But more importantly, it does not address the reason Hopman

asked for accommodation: flashbacks, anxiety and migraines he suffers during the workday. UP

claims that working in the yard would help Hopman since he would sleep at home. (Ex. C,

UPHopman 199). Fair enough, but it did nothing to mitigate PTSD symptoms at work.

       When UP rejected Hopman’s request without any discussions with him, he asked if he

could respond, and he did. As he wrote, “I do not concur with the findings of the investigative

team.” (Ex. C, UPHopman 202). He explained that the accommodation offered “feels more

like a punishment than a solution.” Id. And, most importantly, it did not address the reasons he

needed accommodation:

               Atlas does more than just help with my sleeping, he is a medical necessity
               prescribed by a doctor to perform certain tasks that allow me to be a
               productive person. I feel the company is focused solely on the sleeping

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               aspect, and not at all on the many other tasks the dog has been specificity
               trained to do for me.3

Id.

       Hopman also directly addressed UP’s conclusory statement that the service dog would be

a threat in the workplace: “I'm unsure of exactly why it is believed that the medically prescribed

service dog would pose a threat to safety for me, or others when he is specifically trained to do

the opposite.” (Ex. C, UPHopman at 202).

       UP admits that it did nothing with this input from Hopman. (Ex. E at 181-183; Ex. F at

31, 34-35, 39-41; Ex. H, Weatherford Depo at 73-74, 76-77, 85-87, 114-115). It simply filed it

away, which is the antithesis of a good faith interactive dialogue. Neither Doerr nor Everett ever

reviewed Hopman’s input about UP’s rejection and supposed alternative effective

accommodations. (Ex. E at 181-183; Ex. F at 31, 34-35, 39-41). UP never consulted with any

medical specialist, much less specialists on PTSD. (Id.; Ex. F at 48-49). UP never consulted

with any service animal trainers or specialists. Id.

       The sham process to which Hopman was consigned is not the interactive process

disability law requires. On paper, UP recognizes what the law requires and promises to “ask

questions to try to identify the appropriate reasonable accommodation” and to “clarify the needs

of the individual making the request.” (Ex. C, UPHopman 226). But UP did not keep its

promises. In fact, this case is a poster child for what happens when an employer walls off the

decision makers from the worker with a disability.

       3
         UP also deliberately misstates Hopman’s position on the June 2017 email he sent to
Weatherford (Dkt. 54-1 at 11), suggesting that the need was largely divorced from PTSD. That is
not what the document says. It says “Overnight stays are not the sole need for the animal. Yes I
have PTSD which is part of the need for the dog. But not the main focus.” (Ex. C, UPHopman
928.) Hopman was trying to explain why sleeping was not the only issue since that is the only
issue UP was willing to discuss.
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        UP allowed Hopman to communicate with only one person, Pauline Weatherford, an

employee in Houston who had no role in the decision making. (Ex. F at 38-39) In 2017, her role

was to write up his request and forward it to management. (Ex. F at 32-39; 45). But she wrote it

up wrong, even when he repeatedly told her that he needed an accommodation during the

workday, not just at night. (Ex. B at ¶ 16). Things only got worse from there.

        Weatherford admits that she believed Hopman did not qualify for accommodation

because he could do his job, (Ex. H at 35-36), but never told him that because it was not her

“place.” (Ex.H at 36). She shared with Hopman no specific concerns of management before

telling him the request was denied. (Ex. B at ¶ 16). She did not ask him about how the dog would

perform in particular circumstances. Id. at ¶¶ 16, 18 Her role was so divorced from the process

that she has no idea if Hopman talked to Everett or not. (Ex. H at 19). She simply told him the

ultimate outcome, filed away his input and response, and that was that. (Ex. H at 86-87).

        UP obviously recognizes that it should have engaged in the interactive process and

claims Hopman concedes its good faith. (Dkt. 54-1 at 9). Not so. All Hopman shared was that

Weatherford interacted with him, but he never claimed, as represented, that there was an

interactive good faith process regarding his requests for accommodation. He explained that the

opposite occurred: the team that decided his case “relied on information that had nothing to do

with me or my service animal.” (Ex. C, UPHopman 202). Weatherford is one of the people who

bears responsibility for that.




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        4. UP Uses Inadmissible Settlement Negotiations in a Misleading Fashion. One of UP’s

more egregious claims is that it is still considering the possibility of providing Hopman a service

dog as an accommodation. (Dkt. 54-1 at 14). Of course, its Director of Safety has already

concluded that service dogs are incompatible with railroad work. (Ex. C, UPHopman 560; Ex. E

at 90-91, 99). That is UP’s unvarying and inflexible position, confirmed by its demand that this

Court deny Hopman’s request as a matter of law.

        Plaintiff’s counsel has indeed tried to convince UP to reconsider its position after filing

this lawsuit. This is the kind of good faith attempt at dialogue that happens in every case. UP’s

lack of good faith is shown by its admitted refusal to visit regarding Atlas’ abilities with its

trainer. (Dkt. 54-1 at 14). If UP were open to changing its position on service dogs, it would not

spurn information about Atlas’s training and skills.

        Moreover, these were settlement discussions. Hopman never expected to see UP

mischaracterize these talks in a dispositive motion in contradiction of Federal Rule of Evidence

408.

        UP stubbornly maintains its position that service dogs are incompatible with the job. (Ex.

E at 73, 80-82). It has repeatedly speculated that a service dog cannot adapt to the railroad

environment. (Ex. E at 90-91, 99; Ex. C, UPHopman 197-198). Its claim that it is still open to it

is one advanced only by counsel, not the company itself.

        In similarly deceptive fashion, UP claims that it benevolently granted an accommodation

for Hopman to bring Atlas to his engineer training class in Utah. (Dkt. 54-1, at 13). Not so. The

accommodation was granted by the community college where the training occurred, not UP. (Ex.

B at ¶ 22). In fact, Weatheford demurred when Hopman asked for UP’s consent for him to bring

Atlas to the training. Id.

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       UP is using inadmissible evidence and inaccurate statements to make its position seem

more palatable, but its efforts to rewrite the record only confirm that judgment as a matter of law

is not appropriate.

                                       Standard of Review

       Rule 56 of the Federal Rules of Civil Procedure limits summary judgment to cases where

“the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” UP satisfies neither prong. UP stakes its motion on its

brazen statement that “Hopman did not need an accommodation.” (Dkt. 54-1 at 2). The

overwhelming record evidence is to the contrary. To be sure, UP presents no Rule 56 evidence

that the service dog would not assist him with his PTSD. No reasonable jury could find for UP

on this point, yet it seeks judgment as a matter of law.

       The moving party seeking summary judgment must present the facts in the light most

favorable to the non-movant. UP does the opposite. As one example, it falsely suggests

Hopman did not mention his PTSD in his EEOC Intake Questionnaire. (Dkt. 54-1 at 13). Yet the

record shows he did. (Ex. C, UPHopman 640-643, at 642.) Black is not white. It also misstates

an email Hopman wrote after his second accommodation request was denied, falsely claiming he

admitted that PTSD was not the main reason he requested a service dog. (Dkt. 54-1 at 24). And

it claims a large collaborative group considered Hopman’s accommodation request, (Dkt. 54-1 at

10), when its record cite says nothing of the sort. This is a recurring issue and counsels against

summary judgment.

       UP also fails to support its position with legal authority and ignores the large body of law

contrary to its position. It even apparently hopes this Court will ignore its accommodation policy

(Ex. C, UPHopman 226), which it does not include in its Rule 56 evidence, and the weight of

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evidence that forecloses summary judgment. A party entitled to Rule 56 relief would address the

actual record discuss the established statutory and case law. Not UP.

                               Argument and Authorities:
                UP Must Remove Barriers to Hopman’s Equal Employment
             Through an Interactive Process with an Individualized Assessment.
                                  It Failed on All Fronts

       Hopman brought this case to challenge UP’s steadfast refusal to accommodate his

disability.4 He did so because disability law goes further than just preventing discrete job

actions5 because of disability. It requires employers to take affirmative steps to remove barriers

that would impede a worker with a disability. Federal law provides redress for a worker when

his employer fails to make

       reasonable accommodations to the known physical or mental limitations
       of an otherwise qualified individual with a disability who is an applicant
       or employee, unless such covered entity can demonstrate that the
       accommodation would impose an undue hardship on the operation of the
       business of such covered entity

42 U.S.C. 12112(b)(5).

       The implementing regulations described the three areas where accommodations are

required::

       (I) Modifications or adjustments to a job application process that enable a
       qualified applicant with a disability to be considered for the position such
       qualified applicant desires; or

       (ii) Modifications or adjustments to the work environment ... that enable an
       individual with a disability who is qualified to perform the essential functions of
       that position; or
       4
         Hopman filed an EEOC charge in 2017 to challenge UP’s refusal to accommodate and
then timely filed this lawsuit. (Ex. C, UPHopman 204, 291). He also filed an EEOC charge in
2016, but the EEOC advised him to withdraw it since Atlas was not fully trained at the time. (Ex.
C, UPHopman 650-652).
       5
        The Americans with Disabilities Act bans discrimination in “regard to job application
procedures, the hiring, advancement, or discharge of employees...” 42 U.S.C. 12112(a).
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       (iii) Modifications or adjustments that enable a covered entity's employee with a
       disability to enjoy equal benefits and privileges of employment as are enjoyed by
       its other similarly situated employees without disabilities.

29 C.F.R. § 1630.2(o )(1).

       The first two prongs are not at issue in this lawsuit, yet UP’s mantra is that Hopman is

not entitled to an accommodation to help him with the essential functions. UP ignores the “rest

of the story,” which is that employers must grant “accommodations that enable the individual

with a disability to enjoy equal benefits and privileges of employment.” 29 C.F.R. 1630.9, Appx.

This is the basis of Hopman’s claim.6 UP’s own accommodation policy recognizes this as a

proper basis for seeking accommodation, yet UP has chosen to leave that out of its motion.

       Before determining whether a reasonable accommodation can be fashioned, the parties

have to talk with one another – a process known in disability law as the “interactive process.”

UP’s own policy explains that this means the parties must “clarify the needs of the individual

making the request, and ask questions to try to identify the appropriate reasonable

accommodation.” (Ex. C, UPHopman 226). The Eighth Circuit agrees and has said that once the

worker asks for an accommodation, “[t]he appropriate reasonable accommodation is best

determined through a flexible, interactive process that involves both the employer and the

[employee] with a disability.” Fjellstad v. Pizza Hut of America, Inc., 188 F.3d 944, 951 (8th Cir.

1999) (citing 29 C.F.R. 1630 App. 1630.9). That never happened. And, as the Court explained

in Fjellstad, that failure to engage in an interactive process has consequences. It is “prima facie

evidence that the employer may be acting in bad faith. Under these circumstances, we feel a

factual question exists as to whether the employer has attempted to provide reasonable

       6
        Notably, UP does not attempt to show that this accommodation would impose an undue
hardship. (Dkt. 54-1 at 17).

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accommodation as required by the ADA.” 188 F.3d at 952. Summary judgment is not

appropriate on this record.

       To prevail, Hopman must present evidence he has a disability; is qualified for the job;

and that UP failed to grant him a reasonable accommodation. Benson v. Northwest Airlines, Inc.,

62 F.3d 1108, 1112 (8th Cir.1995) (stating that once the plaintiff makes a facial showing that

reasonable accommodation is possible, the burden of production shifts to the employer to show

that it is unable to accommodate the employee). UP admits that Hopman has a disability and is a

qualified individual. (Dkt. 54-1 at 20). But the railroad argues that Hopman’s claim still fails

because he does not need an accommodation, suffered no adverse action and his requested

accommodation was per se unreasonable. These arguments are doomed because UP can argue

them only by misstating federal law and ignoring its own accommodation policy and the

underlying facts.

       1. UP Wrongly Claims Hopman Does Not Need an Accommodation. First, UP assuredly

tells the Court that Hopman must lose because he cannot prove he needs an accommodation.

After all, as UP repeatedly says, Hopman is performing the essential functions of the job without

accommodation. (Dkt. 54-1 at 17-20). It even goes so far as to say the accommodation he sought

is unrelated to his condition.7 (Dkt. 54-1 at 23).

       To hear UP tell it, if Hopman can perform the discrete tasks of his job, no matter how

difficult that is with his war-induced PTSD, he has no right to an accommodation. For more

than 25 years, some employers have been making that argument, hoping to limit their duty to



       7
         In making this conclusory statement, UP provides no authority to contradict Hopman’s
many statements to the contrary.


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accommodate workers. For more than 25 years, courts have unceremoniously rejected such

arguments, since they are inconsistent with the statute.

         Every Circuit Court to Address the Issue has Rejected UP’s Attempt to
     Deny an Accommodation Because the Employee Can Perform Essential Functions

       UP cites a lot of cases, but not one that considers an accommodation to allow a worker to

enjoy equal benefits and privilege of employment. UP’s authorities are off the mark because they

uniformly address a different category of accommodations, ones that are needed to help a person

perform the essential functions of their job. (Dkt. 54-1 at 17-18). As far as Hopman can

determine, no court has restricted accommodations to those that help a worker perform the

discrete job tasks.

       To the contrary court after court has rejected UP’s position that its obligations are so

limited. An early case that made this point is Buckingham v. United States, 998 F.2d 735,

740–41 (9th Cir. 1993).8 There the Court plainly held that “employers are not relieved of their

duty to accommodate when employees are already able to perform the essential functions of the

job.” Employees “who can perform all job functions” may need accommodation to allow them to

“enjoy the privileges and benefits of employment equal to those enjoyed by non-handicapped

individuals.” 998 F.2d at 740. Accordingly, a worker who sought relocation for medical

treatment could not be hamstrung by his admitted ability to perform his job.

       Other circuit courts have agreed. In Sanchez v. Vilsack, 695 F.3d 1174, 1181-1182 (10th

Cir. 2012), for example, the Tenth Circuit rejected the Forest Service’s argument that a worker

did not qualify for transfer because she could still perform the essential functions of the job. Like


       8
        The same standards applicable in a case under the Rehabilitation Act, such as
Buckingham, are applicable to claims under the Americans with Disabilities Act. 29 U.S.C.
794(d).

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Hopman, Sanchez was able to perform the discrete tasks of the job. She asked for a transfer to a

different city where she would have greater access to specialized medical care and therapy after

suffering an irreversible brain injury.

          The Tenth Circuit observed that both the cases and “the EEOC interpretive regulations

contemplate accommodations that are wholly unrelated to the essential functions of a job.” Id. at

1180-1182 (collecting cases). Thus, an accommodation can be appropriate “even if an employee

is able to perform the essential functions of her job without it.” Id. at 1182.

          In Gleed v. AT & T Mobility Servs., LLC, 613 F. App'x 535 (6th Cir. 2015), the Sixth

Circuit concurred. There, the plaintiff had a leg condition that caused him great pain when he

stood for prolonged periods. He thus asked to be able to sit while working. AT&T refused and

insisted that, if Gleed was physically capable of doing his job – no matter the pain or risk to his

health – then it had no obligation to provide him with any accommodation, reasonable or not. Id.

at 538.

          The Court disagreed and explained AT&T had misread federal law. “[T]he ADA's

implementing regulations require employers to provide reasonable accommodations not only to

enable an employee to perform his job, but also to allow the employee to 'enjoy equal benefits

and privileges of employment as are enjoyed by ... employees without disabilities.’” Id. at 538-

539. The Court recognized that the accommodation properly allowed the plaintiff to work

without great pain – just as other employees did. This is all Hopman seeks.

          The Fifth Circuit has likewise rejected UP’s skewed interpretation of disability law. In

Feist v. Louisiana, Dep't of Justice, Office of the Atty. Gen., 730 F.3d 450, 453 (5th Cir. 2013),

the Court reversed summary judgment in a case where the employer claimed it could reject a



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request for on-site parking because the employee could not show the parking situation limited

her ability to perform the essential functions of the job. The Court explained that the duty of

accommodation was broader than that. 730 F.3d at 453. “[A] modification that enables an

individual to perform the essential functions of the position is only one of three categories of

reasonable accommodation.” Another category of accommodation cited by the Court – and

sought by Hopman – is to enable the worker to enjoy equal benefits and privileges of

employment. Id.

       The D.C. Circuit has also ruled out UP’s construct. In Hill v. Assocs. for Renewal in

Educ., Inc., 897 F.3d 232, 239 (D.C. Cir. 2018), cert. denied, 139 S. Ct. 1201 (2019), the Court

rejected the notion that an employer could deny accommodation because the worker could

perform the duties of the job, albeit with pain, without the accommodation. “A reasonable jury

could conclude that forcing Hill to work with pain when that pain could be alleviated by his

requested accommodation violates the ADA.” 897 F.3d at 239.

       The Seventh Circuit is yet another appellate court that has considered and rejected UP’s

argument to avoid accommodating Hopman. McWright v. Alexander, 982 F.2d 222, 227 (7th

Cir.1992). “The Rehabilitation Act calls for reasonable accommodations that permit

handicapped individuals to lead normal lives, not merely accommodations that facilitate the

performance of specific employment tasks.” Id.




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       Many district court cases are to the same effect,9 but two stand out. In the first jury trial

in the country involving a veteran who sought a service dog to mitigate his PTSD, former D.C.

Chief Judge Royce Lamberth, sitting in the Western District of Texas, quickly dispatched the

argument UP makes here. The Court, relying on Feist, held that the accommodation may enable

the employee to “enjoy equal benefits and privileges of employment” even if it has no effect on

the employee's ability to do the job. “Substantial evidence at trial established that a service dog

mitigated the effects of Alonzo-Miranda's PTSD by reducing the pain and hardship of his

disability while at work.” Alonzo-Miranda v. Schlumberger Tech. Corp., 2015 WL 13768973 at

2 (W.D.Tex. 2015). That is exactly why UP owes Hopman an accommodation.

       And in Branson v. West, 1999 WL 311717 (N.D.Ill. May 11, 1999), the district court

granted partial summary judgment for a doctor who had been denied a service dog. As in this

case, Branson’s VA employer was focused on her ability to do the job without a service dog.

The Court rejected the VA’s approach saying that the employer “viewed its obligations too

narrowly.” 1999 WL 311717 at *12. Accommodations are warranted “when they help

employees lead normal lives, not just when they facilitate performance of specific job tasks.” Id.

       Like UP, the VA in Branson offered no accommodation that would deal with the

underlying issue: the extraordinary fatigue and stress on her body suffered by this paraplegic

doctor. The Court explained that this was not enough. “Changes that fail to address the



       9
        See, e.g., E.E.O.C. v. Life Techs. Corp., 2010 WL 4449365, at *4-5 (D. Md. Nov. 4,
2010); Clark v. Sch. Dist. Five of Lexington & Richland Ctys., 247 F. Supp. 3d 734, 749 (D.S.C.
2017); Kessler v. AT & T, 2015 WL 5598866, at *12 (M.D. Pa. Sept. 22, 2015); Merrill v.
McCarthy, 184 F. Supp. 3d 221, 238 (E.D.N.C. 2016).




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employee’s limitations are not accommodations and thus do not satisfy the employer’s duty

under the Act.” 1999 WL 311717 at * 11.

       Ultimately, UP’s disagreement is with the law, not Hopman. It cannot redact away the

duty of accommodation necessary to allow a person to enjoy equal benefits and privileges of

employment. All Hopman seeks is the same right other employees already have – to work

without the continual and unrelenting burden and pain of PTSD. He proposed a reasonable

accommodation that entails no cost to UP. He even volunteered to educate his colleagues about

how to treat Atlas.10 (Ex. C, UPHopman 193).

       UP’s approach would punish qualified individuals with disabilities for being too

determined and capable. Thankfully, disability law does not have such disdain for veterans.

       2. UP Wrongly Claims Hopman Was Not Denied an Accommodation. UP next claims

Hopman must lose for he cannot present a prima facie case of discrimination because “he

suffered no adverse employment action.” (Dkt. 54-1 at 20). UP acknowledges that the failure to

accommodate is itself an adverse action, but claims it offered him a reasonable accommodation

in the form of a yard job and he “voluntarily” accepted it.11 (Dkt 54-1, at 12). Again, UP

ignores the factual record, which establishes that Hopman never felt that the yard was a

reasonable accommodation, and only went there at UP’s request. He then explained this to UP

in 2017, telling it that the yard was worse than his regular route. (Ex. C, UPHopman at 202). He
       10
         UP would not even have to change its policy with respect to service animals, because it
has no such policy. (Ex. E at 129-130).
       11
            As UP’s own cited cases show, the Eighth Circuit requires no more than the statute
requires, an employer’s refusal to accommodate a known disability. UP admits this at one point
but still claims that Hopman needs to show more than just a failure to accommodate. (Dkt.54-1
at 20-21). Curiously, its support is not an Eighth Circuit case but a pro se case from a district
court of Missouri. Hopman is uncertain on what basis UP thinks this Court can overrule settled
Eighth Circuit law based on nothing more than a district court case in which the plaintiff did not
even have a lawyer.
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said that the yard was “ a more dangerous working environment" with "multiple stressors that

my current job does not," (Id.) but UP never responded.

       When UP denied Hopman’s requested accommodation in 2017, he wrote a heartfelt plea

for the railroad to reconsider:

                 Atlas does more than just help with my sleeping, he is a medical necessity
                 prescribed by a doctor to preform [sic] certain tasks that allow me to be a
                 productive person. I feel the company is focused solely on the sleeping aspect,
                 and not at all on the many other tasks the dog has been specificity trained to do
                 for me.

       (Ex. C, UPHopman 202). He also addressed the underlying cause: UP’s failure to engage

in the interactive process:

                 I truly believe that if the investigative team would have actually had the
                 same type of in depth conversations with me and my dog trainer, a lot of
                 the questions and concerns could have been addressed thus leading to a
                 completely different outcome. Unfortunately, that did not occur and the
                 investigative team relied on misinformation that had nothing to do with
                 me or my service animal.

Id. Hopman’s statements directly contradict UP’s claim that he “voluntarily” accepted an

alternate accommodation.12 Indeed, less than a month after writing those words he filed an

EEOC charge of discrimination to challenge UP’s failure to accommodate him. (Ex. C,

UPHopman 204).

       UP’s offer of a yard job cannot even properly be called an accommodation, because

accommodations must be “effective.” U.S. Airways, Inc. v. Barnett, 535 U.S. 391, 400–01

(2002).13 Hopman needed Atlas during the workday to avoid the pain of his PTSD – just as the

employee in Gleed needed to sit down at work to avoid pain. UP refused. And, as he told UP,
       12
            UP’s record support for this (Dkt 54-1 at 21 n.5), says nothing of the sort.
       13
          Employees do not always get their preferred accommodation, but the employer still
has a duty to provide an accommodation that is effective. Kiel v. Select Artificials, Inc., 169 F.3d
1131, 1137 (8th Cir. 1999).
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the accommodation had another drawback, it placed him in “a more dangerous working

environment” with “multiple stressors that my current job does not.” (Ex. C, UPHopman 202).

Hopman needed an accommodation to prevent flashbacks and the pain and suffering they cause.

UP’s request that he go to the yard made it worse, not better. As Hopman explained, “[I]t's a

more stressful job.” (Ex. A at 53-54). Only a jury can decide whether proposing that Hopman

either take unpaid leave or transfer to a “more stressful job” in the yard was an “effective”

accommodation.

       UP believes it can prevail because Hopman did comply with UP’s request that he work in

the yard job for a time. When the choice was between having his service dog at night or not at

all, he went to the yard to see if it might work. It did not. As UP admits, he quickly shared that

the yard was no accommodation but an additional burden on him. This shows just how

ineffective this supposed “accommodation” really was.

       3. Hopman’s Accommodation Was and Is Reasonable. Finally, UP claims that

Hopman's accommodation is unreasonable as a matter of law because he does not need it to

perform the essential functions of his job. Again, UP displays the misunderstanding of federal

law that pervades the motion. To accept UP's argument one would have to spill white-out on the

ADA, the case law, and UP's own policies.

       The “reasonableness” of an accommodation is ordinarily a fact issue for a jury. See Frye

v. Aspin, 997 F.2d 426, 428 (8th Cir.1993). And it should be here. Hopman sought an

accommodation that cost no money and violated no rule. And UP gave Hopman no reason for

rejecting his accommodation request that he did not effectively rebut.

       Further, in this litigation Hopman has learned that another UP railroad worker effectively

used a service dog for several years without any problem. Paul Birchfield worked as a UP

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engineer and, given the lack of any policy prohibiting dogs, brought a dog to work on numerous

occasions, as his co-workers and managers all knew. Birchfield used the dog successfully to

mitigate his anxiety disorder (Ex. G, Birchfield Depo at 16-24). The fact that this

accommodation worked for years speaks volumes about the reasonableness of the

accommodation.

       More importantly, UP actually uses its own dogs to assist its personnel on and around

trains. Its K-9 program pairs its special agents with dogs, and they work as a team to investigate

misconduct, protect UP’s property and personnel, and to find contraband. (Ex. C, UPHopman

502-512 at 502). UP recognizes that the dogs, “enhance agent safety and effectiveness.” Id. at

503. It performs a “thoughtful and thorough individualized assessment of both the dog and the

handler before approving them.” (Ex. E at 69). No such assessment was performed for Hopman

and Atlas. (Ex. I, Genglar Depo at 81; Ex. E at 84, 113, 156).

       As for UP’s own dogs, in the more than 25 years UP has utilized dogs to accompany its

Special Agents, none have caused any of the alleged problems that UP claims that service dogs

would cause. No K-9 dog has misbehaved, caused any allergies, or engaged in any misconduct,

according to UP’s documentation. (Ex. E at 50, 110-113, 147, 186-189, 245, and 247). UP is

proud of using its own dogs to protect its property, (Ex. E at 49-50), yet reflexively denies a

service dog to a veteran who needs one. When asked why UP does not individually assess

service dogs the way they assess their own dogs, Doerr, the Safety Director and Rule 30(b)(6)

designee said “I don’t have a good answer. I don’t know why.” (Ex. E at 113).

       To date, UP has not explained its willingness to allow its own dogs to work with workers

who have no disability, but to disallow service dogs to veterans who do. When asked if UP has

utilized its experience with its own dogs to determine whether or not service dogs might by

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useful for railroad workers with disabilities, Doerr said, “I can’t say that we have.” (Ex. E at 71-

72). Again, UP shows why summary judgment is not appropriate.

          UP ignores the de minimis burden on Hopman to establish the reasonableness of his

request, laid out by the U.S. Supreme Court in U.S. Airways, Inc. v. Barnett, 535 U.S. 391

(2002):

                 a plaintiff/employee (to defeat a defendant/employer's motion for
                 summary judgment) need only show that an "accommodation" seems
                 reasonable on its face, i.e., ordinarily or in the run of cases.

535 U.S. at 400–01.

          A reasonable jury could conclude that a service animal trained to treat a man with PTSD

is a reasonable request coming from a man with PTSD, just as it did for veteran Alonzo-

Miranda. See also United States v. Dental Dreams, LLC, 307 F. Supp. 3d 1224, 1248-49

(D.N.M. 2018) (denying summary judgment on the "reasonableness" of an accommodation

request for a service animal in-training for an employee with PTSD); Clark v. Sch. Dist. Five of

Lexington & Richland Ctys., 247 F. Supp. 3d 734, 750-751 (D.S.C. 2017) (denying summary

judgment regarding failure to accommodate claim where plaintiff suffered from PTSD and panic

disorder with agoraphobia). Hopman will offer expert testimony about the assistance service

dogs offer to veterans without either any disruption or hardship to the employer. (Ex. D).




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                                          Conclusion

       For the reasons stated above, the plaintiff respectfully asks the Court to deny Union

Pacific’s motion for summary judgment. No veteran should find his inner strength used against

him in this manner.



                                             Respectfully submitted,

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                                     Certificate of Service

       I certify that a true and correct copy of this document has been served upon the defendant
through the electronic filing system of the Eastern District of Arkansas on July 18, 2019.


                                                    /s/ Paul R. Harris




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